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                       FOR PUBLICATION

          UNITED STATES COURT OF APPEALS
               FOR THE NINTH CIRCUIT


        METROPCS CALIFORNIA, LLC,               No. 18-17382
                      Plaintiff-Appellee,
                                                   D.C. No.
                        v.                      3:17-cv-05959-
                                                      SI
        MICHAEL PICKER; MARTHA GUZMAN
        ACEVES; CARLA PETERMAN; LIANE
        RANDOLPH; CLIFFORD                        OPINION
        RECHTSCHAFFEN,
                   Defendants-Appellants.

             Appeal from the United States District Court
               for the Northern District of California
               Susan Illston, District Judge, Presiding

               Argued and Submitted February 5, 2020
                     San Francisco, California

                        Filed August 14, 2020

             Before: Richard A. Paez, Carlos T. Bea, and
                Michelle T. Friedland, Circuit Judges.

                     Opinion by Judge Friedland
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                                 SUMMARY *


                             Telecommunications

           Reversing the district court’s summary judgment and
       remanding, the panel held that federal law did not facially
       preempt California law governing universal service
       contributions from prepaid wireless providers.

           The panel explained that federal law requires
       telecommunications providers to contribute to the federal
       Universal Service Fund from revenues the providers derive
       from their customers’ interstate telecommunications. The
       Federal Communications Commission has authorized three
       methods that wireless providers can use to distinguish
       between interstate and intrastate revenues. Federal law also
       permits states to require telecommunications providers to
       contribute to state universal service programs based on the
       providers’ intrastate revenues. California requires its own
       universal service contributions. In 2014, California adopted
       the Prepaid Mobile Telephony Services Surcharge
       Collection Act, which governed the collection of surcharges
       from prepaid wireless customers. The California Public
       Utilities Commission issued resolutions implementing the
       Prepaid Act that required providers of prepaid services to use
       a method other than the three FCC-recognized methods to
       determine the revenues generated by intrastate traffic that
       were subject to surcharge. The district court held that the
       CPUC resolutions were facially preempted by federal law,
       and the CPUC appealed.

           *
             This summary constitutes no part of the opinion of the court. It
       has been prepared by court staff for the convenience of the reader.
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           As a threshold matter, the panel held that the expiration
       of the Prepaid Act while this appeal was pending did not
       cause this case to become moot. Plaintiff MetroPCS, a
       prepaid wireless provider, sought declaratory and injunctive
       relief on its claim that federal law preempts the CPUC’s
       resolutions that required that prepaid providers use a uniform
       intrastate allocation factor, and not their chosen FCC-
       recognized method, to determine intrastate revenues subject
       to surcharge. The panel held that the case was not moot
       because MetroPCS had not complied with the CPUC’s 2017
       and 2018 Resolutions, and the CPUC still plans to enforce
       them.

           On the merits of the preemption claim, the panel held
       that the CPUC resolutions were not facially preempted by
       the Telecommunications Act and related FCC
       decisions. The panel concluded that preemption was
       disfavored because there was a dual federal-state regulatory
       scheme and a history of state regulation in the area of
       intrastate telecommunications. The panel rejected
       MetroPCS’s theories in support of its claim that the CPUC
       resolutions were facially preempted: (1) that the resolutions
       conflicted with the requirement of competitive neutrality by
       depriving prepaid providers (but not their competitors) of the
       “right” to calculate intrastate revenues in a way that avoided
       assessing the same revenues as federal contribution
       requirements; or (2) that because prepaid providers were
       deprived of that “right,” the resolutions were preempted
       regardless of the treatment of competing providers. The
       panel reversed the district court’s summary judgment and
       remanded to the district court to consider in the first instance
       MetroPCS’s other challenges to the resolutions, including
       MetroPCS’s as-applied preemption challenge.
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       Council.


                               OPINION

       FRIEDLAND, Circuit Judge:

           MetroPCS California, LLC (“MetroPCS”), a wholly
       owned subsidiary of T-Mobile USA, Inc. (“T-Mobile”), sells
       prepaid cell phone plans in California and other states. Like
       other telecommunications providers, MetroPCS remits a
       portion of its revenue to federal and state governments to
       fund universal service programs. This appeal raises the
       question whether federal law preempts California law
       governing universal service contributions from MetroPCS
       and other prepaid wireless providers.

           Federal law requires telecommunications providers,
       including wireless providers such as MetroPCS, to
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       contribute to the federal Universal Service Fund, which
       helps provide affordable telecommunications access. These
       contribution requirements are imposed on revenues the
       providers derive from their customers’ interstate
       telecommunications. See 47 U.S.C. § 254(d). The Federal
       Communications Commission (“FCC”) has authorized three
       methods that wireless providers can use to distinguish
       between interstate and intrastate revenues. Federal law also
       permits states to require telecommunications providers to
       contribute to state universal service programs based on the
       providers’ intrastate revenues. See id. § 254(f).

           California requires its own universal service
       contributions. It imposes surcharges on consumers’ use of
       intrastate telecommunications services and relies on
       providers to collect those surcharges from their customers.
       In 2014, California adopted the Prepaid Mobile Telephony
       Services Surcharge Collection Act (“Prepaid Act”), which
       (prior to its recent expiration) governed the collection of
       surcharges from prepaid wireless customers. The California
       Public Utilities Commission (“CPUC”) issued resolutions
       implementing the Prepaid Act that required providers of
       prepaid services to use a method other than the three FCC-
       recognized methods to determine the revenues generated by
       intrastate traffic that were subject to surcharge. Specifically,
       the CPUC resolutions required all prepaid providers to apply
       a uniform, flat-rate “intrastate allocation factor” to determine
       their intrastate revenues. Providers of postpaid services, by
       contrast, were not governed by the resolutions and were free
       to use any of the three FCC-recognized methods to
       determine their intrastate revenues for purposes of
       calculating surcharges owed to the CPUC.

           MetroPCS filed this lawsuit alleging that the CPUC
       resolutions were preempted by federal law. Among other
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       things, MetroPCS contended that the resolutions’
       requirement of an intrastate allocation factor increased
       surcharges on prepaid services—but not on competing
       postpaid services—and thereby placed MetroPCS at a
       disadvantage in the wireless telecommunications market, in
       conflict with the federal Telecommunications Act of 1996
       (“Telecommunications Act”) and FCC decisions
       implementing it. The district court ruled for MetroPCS, and
       the CPUC appealed. While this appeal was pending, the
       Prepaid Act expired.

           As a threshold matter, we hold that the expiration of the
       Prepaid Act did not cause this case to become moot and that
       we therefore have jurisdiction to reach the merits of
       MetroPCS’s preemption claim. With respect to that claim,
       we hold that the CPUC resolutions are not facially
       preempted by the Telecommunications Act and related FCC
       decisions, and we therefore reverse the district court’s ruling
       in favor of MetroPCS. We remand to the district court to
       consider in the first instance MetroPCS’s other challenges to
       the resolutions.

                                     I.

                                     A.

           The universal availability of critical telecommunications
       services is “a fundamental goal of federal
       telecommunications regulation.” Rural Cellular Ass’n v.
       FCC, 588 F.3d 1095, 1098 (D.C. Cir. 2009). From its
       inception, the FCC has been charged with “mak[ing]
       available, so far as possible, to all the people of the United
       States a rapid, efficient, Nation-wide, and world-wide . . .
       communication service with adequate facilities at reasonable
       charges.” Communications Act of 1934, Pub. L. No. 73-
       416, § 1, 48 Stat. 1064, 1064. States have also historically
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       “exercised their jurisdictional authority to ensure the
       availability of universal service.” In re Federal-State Joint
       Board on Universal Service, 13 FCC Rcd. 24744, 24747
       (1998) (“1998 Universal Service Decision”).

           The Telecommunications Act solidified the commitment
       by the FCC and states to “ensuring the preservation and
       advancement of universal service.” Id. at 24747–48; see
       also Pub. L. No. 104-104, § 101, 110 Stat. 56, 71–75 (1996).
       Under      the    Telecommunications        Act,    “[e]very
       telecommunications carrier that provides interstate
       telecommunications services shall contribute, on an
       equitable and nondiscriminatory basis, to the specific,
       predictable, and sufficient mechanisms established by the
       [FCC] to preserve and advance universal service.”
       47 U.S.C. § 254(d). The Act further provides that states
       “may adopt regulations not inconsistent with the [FCC]’s
       rules [that] preserve and advance universal service.” Id.
       § 254(f). In states adopting universal service regulations,
       “[e]very telecommunications carrier that provides intrastate
       telecommunications services shall contribute, on an
       equitable and nondiscriminatory basis, in a manner
       determined by the State to the preservation and advancement
       of universal service in that State.” Id.

           The FCC has exercised its authority to establish guiding
       principles “for the preservation and advancement of
       universal service,” id. § 254(b), by requiring that federal and
       state contributions be imposed on a competitively neutral
       basis. In re Federal-State Joint Board on Universal Service,
       12 FCC Rcd. 8776, 8801 (1997) (“1997 Universal Service
       Order”). The competitive neutrality policy is related to the
       statutory requirement that federal and state universal service
       contributions be “equitable and nondiscriminatory.” Id.; see
       also 47 U.S.C. § 254(d), (f). It requires that universal service
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       “rules neither unfairly advantage nor disadvantage one
       provider over another, and neither unfairly favor nor
       disfavor one technology over another.” 1997 Universal
       Service Order, 12 FCC Rcd. at 8801.

                                         B.

           To implement the Telecommunications Act’s dual
       regulatory scheme, the FCC funds federal universal service
       programs by imposing a contribution requirement on the
       portion of telecommunications providers’ revenues that is
       generated by interstate traffic, while states such as California
       support their own universal service programs through
       surcharges on the portion of revenues generated by intrastate
       traffic. 1

           The federal Universal Service Fund supports, among
       other things, the extension of high-speed internet to rural
       areas and the provision of discounted phone services to low-
       income consumers.          See Universal Service, FCC,
       https://www.fcc.gov/general/universal-service (last visited
       Aug. 4, 2020).            Telecommunications providers’
       contributions to the Universal Service Fund “are calculated
       by applying a quarterly ‘contribution factor’” to the portion




           1
               We adopt the following terminology for ease of reference
       throughout the remainder of this opinion. We use the term “interstate”
       as encompassing interstate and international telecommunications, both
       of which the FCC regulates. In addition, consistent with the terminology
       used by the FCC and the CPUC, we refer to federal contribution
       requirements as “contributions” or “contribution requirements,” and we
       refer to California’s contribution requirements as “surcharges.”
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       of their surchargeable 2 telecommunications revenues that is
       interstate. See Rural Cellular Ass’n, 588 F.3d at 1099.

           “For companies connecting landline customers,
       determining the percentage of interstate . . . calls is relatively
       simple.” Vonage Holdings Corp. v. FCC, 489 F.3d 1232,
       1236–37 (D.C. Cir. 2007). But for providers of wireless and
       interconnected Voice over Internet Protocol (“VoIP”)
       services 3—“whose customers may use their services from
       many locations and often have area codes that do not
       correspond to their true location[s]”—it can be more difficult
       to determine the percentage of interstate traffic. Id. at 1237.
       The FCC has therefore authorized three options for wireless
       and interconnected VoIP providers to separate the revenues
       they generate from interstate traffic from the revenues they
       generate from intrastate traffic.


           2
               Not all revenue is necessarily subject to federal contribution
       requirements or state surcharge requirements. We use the term
       “surchargeable” to refer to the portion of revenue that is. For example,
       both the FCC and the CPUC consider mobile wireless voice revenues to
       be surchargeable revenues, so the FCC’s contribution requirements
       apply to interstate mobile wireless voice revenues, and the CPUC’s
       surcharge requirements apply to intrastate mobile wireless voice
       revenues. But neither the FCC nor the CPUC consider text messaging
       revenues to be surchargeable. See In re Petitions for Declaratory Ruling
       on Regulatory Status of Wireless Messaging Service, 33 FCC Rcd.
       12075, 12100 n.162 (2018); CPUC, Decision 19-01-029, Decision
       Determining that Public Purpose Program Surcharges and User Fees
       Will Not be Assessed on Text Messaging Services Revenue 21 (2019),
       https://docs.cpuc.ca.gov/PublishedDocs/Published/G000/M265/K391/2
       65391963.PDF.

           3
             Interconnected VoIP service “allows a caller using a broadband
       Internet connection to place calls to and receive calls from other callers
       using either VoIP or traditional telephone service.” Nuvio Corp. v. FCC,
       473 F.3d 302, 303 (D.C. Cir. 2006).
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           First, if wireless and interconnected VoIP providers have
       “actual revenue data” showing the portion derived from
       interstate telecommunications, they may rely on that data. In
       re Universal Service Contribution Methodology, 21 FCC
       Rcd. 7518, 7535, 7544 (2006) (“2006 Universal Service
       Order”). Second, providers may conduct a traffic study in
       which they take a sample of traffic on their network to
       estimate the percentage of all traffic that is interstate. See id.
       Finally, providers may rely on the FCC’s “safe harbor,” a
       percentage that is intended to “reasonably approximate the
       percentage of interstate . . . telecommunications revenues.”
       See In re Federal-State Joint Board on Universal Service,
       13 FCC Rcd. 21252, 21253 (1998); see also 2006 Universal
       Service Order, 21 FCC Rcd. at 7532, 7544. Under the
       wireless safe harbor of 37.1% that has been in effect since
       2006, for instance, a wireless provider can report that 37.1%
       of its surchargeable revenue is interstate without looking at
       an actual breakdown of its revenue or using a traffic study to
       approximate the breakdown. See 2006 Universal Service
       Order, 21 FCC Rcd. at 7532–33.

           Although federal universal service contributions are
       imposed on telecommunications providers, it is common for
       providers to recover the amounts of their contributions from
       their customers, typically by putting a line item on monthly
       bills. See Vt. Pub. Serv. Bd. v. FCC, 661 F.3d 54, 57
       (D.C. Cir. 2011). As a result, “nearly every purchaser of
       telephone services in America helps support the [federal
       Universal Service Fund].” Id.

           In California, the CPUC similarly imposes universal
       service surcharges on consumers’ use of intrastate
       telecommunications services, which are collected by
       providers and then remitted to the state. The CPUC uses
       these funds to provide, among other things,
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       telecommunications devices to people with hearing loss and
       discounted telecommunications services to schools,
       libraries, hospitals, and other nonprofits.

           For years, the CPUC did not mandate any particular
       methodology for wireless and VoIP providers to determine
       their intrastate revenues. Those providers could therefore
       use the three options recognized by the FCC—actual
       revenue, a traffic study, or the inverse of the FCC safe
       harbor. 4

                                           C.

           In 2014, California adopted the Prepaid Act, which
       addressed the collection of surcharges from consumers of
       prepaid wireless services. See 2014 Cal. Legis. Serv. ch.
       885, § 8 (A.B. 1717) (West) (repealed 2020). 5 Prepaid
       wireless consumers pay in advance for services such as voice
       and data, while postpaid wireless consumers are billed
       monthly after the services have been provided. Prepaid
       service is increasingly popular, see Cal. Rev. & Tax. Code
       § 42002(d), including among “subscribers [who] lack the
       credit background or income [required] to qualify for
       postpaid service,” see In re Implementation of
       Section 6002(b) of the Omnibus Budget Reconciliation Act
           4
              The inverse of the FCC safe harbor is the portion of revenues not
       captured by the FCC safe harbor—that is, the portion of revenues
       attributed to intrastate traffic. For instance, the inverse of the FCC’s
       current 37.1% safe harbor for wireless providers is 62.9%.

            5
              The Prepaid Act expired as of January 1, 2020. See Cal. Rev. &
       Tax. Code § 42024 (providing that the Act “shall remain in effect only
       until January 1, 2020, and as of that date is repealed, unless a later
       enacted statute . . . deletes or extends that date”). For ease of reference,
       we do not note the Prepaid Act’s expiration when citing provisions of
       the Act which are no longer in effect in the remainder of this opinion.
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       of 1993, 31 FCC Rcd. 10534, 10597 (2016). The CPUC
       estimates that prepaid services constitute about a third of the
       wireless services market in California.

           Although postpaid providers can recover surcharges on
       intrastate traffic by placing charges on customers’ monthly
       bills, prepaid service does not involve a monthly billing
       process. Prior to 2014, prepaid providers “essentially built”
       surcharges “into the purchase price” of prepaid services, and
       then remitted surcharges from their overall profits. Against
       this backdrop, the Prepaid Act was intended to “ensure
       equitable contributions from end-use consumers of postpaid
       and prepaid mobile telephony services in [California]” by
       “standardiz[ing] . . . the method used to collect
       communications taxes, fees, and surcharges from end-use
       consumers of prepaid mobile telephony services.” Cal. Rev.
       & Tax. Code § 42002(e).

           Under the Prepaid Act, a single surcharge rate, which
       included a component funding state universal service
       programs, had to be “imposed on each prepaid consumer.”
       See id. § 42010(a)(1), (b)(2). Both direct sellers (prepaid
       wireless providers themselves) and indirect sellers (third-
       party retailers such as big box stores) were required to collect
       surcharges from consumers “at the time of each retail
       transaction.” See id. §§ 42004(b)(1), (p), 42010(a)(1), (d)–
       (e). The surcharge was required to “be imposed as a
       percentage of the sales price” of each purchase of prepaid
       services, id. § 42010(a)(1); see also id. § 42018(a), 6 using a

            6
             If prepaid services were sold in combination with other services or
       products for a single bundled price, the surcharge generally applied to
       that entire price. See Cal. Rev. & Tax Code § 42018(a); see also id.
       § 42018(b) (creating an exception by providing that, if prepaid services
       were sold with a mobile phone for a single bundled price, and the seller
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       rate the CPUC would establish each year, id. § 42010(b)(2);
       see also Cal. Pub. Util. Code § 319(b)–(c). The Prepaid Act
       took effect on January 1, 2016. See Cal. Rev. & Tax. Code
       § 42010(a)(1).

           The CPUC issued a series of resolutions implementing
       the Prepaid Act. The first resolution (the “2016 Resolution”)
       set a surcharge rate of 8.51%, which it stated applied only to
       “intrastate revenues subject to surcharge.” But the 2016
       Resolution did not specify how that amount of intrastate
       revenue was to be determined. In particular, nothing in the
       2016 Resolution prevented prepaid providers from using any
       of the three FCC-recognized methods to do so. To take a
       hypothetical (and simplified) example of how the 2016
       Resolution worked: suppose a provider selling a $40 voice-
       only prepaid plan had decided to use the traffic study
       method, and that its study showed that 60% of its traffic was
       intrastate. The provider would have applied the 8.51%
       surcharge to the portion of the sales price representing
       intrastate revenue ($24, or 60% of $40), producing a
       surcharge amount of $2.04 (8.51% of $24).

           The CPUC changed course in its next resolution (the
       “2017 Resolution”). The CPUC explained that, on further
       study, it had determined that the 2016 Resolution did not
       comply with the Prepaid Act. The CPUC now believed that
       the Prepaid Act required that the surcharge rate “be applied
       to the total sales price” of prepaid services instead of only to
       “the intrastate portion” of the sales price.



       disclosed on a receipt the portion of that price attributable to the phone,
       the seller could then apply the surcharge only to the remaining portion
       of the price attributable to prepaid services—rather than the full bundled
       price).
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            The 2017 Resolution began by setting an initial
       surcharge rate of 7.0854% using the methods the CPUC had
       relied on in 2016. Then, because the CPUC had concluded
       that any surcharge rate had to apply to the “total” prepaid
       sales price, the CPUC took the further step of adjusting that
       initial rate by what it called an “intrastate allocation factor.”
       The CPUC calculated an intrastate allocation factor of
       72.75% based on the percentages of intrastate revenue
       reported by prepaid providers. The result was a 5.15%
       adjusted surcharge rate (7.0854% multiplied by the intrastate
       allocation factor of 72.75%), which the 2017 Resolution
       specified applied to the entire sales price.

           Although the 2017 Resolution required applying that
       adjusted surcharge rate to the entire sales price, it achieved
       the same mathematical result as applying the unadjusted
       surcharge rate to the intrastate portion of the sales price, as
       determined by applying the CPUC’s intrastate allocation
       factor. To illustrate using a hypothetical $40 plan, applying
       the adjusted surcharge rate of 5.15% to the entire price of
       that plan would have produced a surcharge of $2.06. The
       same surcharge amount would result from using the 72.75%
       intrastate allocation factor to determine that $29.10 of that
       $40 plan was intrastate revenue, and then applying the
       unadjusted surcharge rate of 7.0854% only to that revenue.

           This aspect of the 2017 Resolution—the requirement
       that providers use the 72.75% intrastate allocation factor to
       determine intrastate revenue subject to surcharge—was
       challenged by MetroPCS and T-Mobile. Their application
       to modify the 2017 Resolution argued that they and other
       direct sellers should be allowed to rely on the FCC methods
       to determine intrastate revenue, rather than being required to
       use the intrastate allocation factor to do so. The CPUC
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       denied the application and issued a resolution affirming the
       2017 Resolution.

           The next CPUC resolution (the “2018 Resolution”) took
       the same approach as the 2017 Resolution, but with updated
       rates. As relevant here, it adopted a new intrastate allocation
       factor of 69.45% for determining prepaid intrastate revenue
       subject to surcharge.

           In contrast to prepaid services, postpaid services were
       not governed by the Prepaid Act or the CPUC resolutions.
       Providers of postpaid services were therefore allowed to
       continue using the three FCC-recognized methods to
       determine their intrastate revenues subject to CPUC
       surcharge.

                                     D.

           MetroPCS filed a lawsuit in 2017 against the members
       of the CPUC in their official capacities, challenging the
       CPUC’s intrastate allocation factor methodology.
       MetroPCS explained in the operative Complaint that it has
       “been offering prepaid wireless service in California since
       2002” and that it sells a variety of plans, “including voice,
       data, and text plans ranging from $30 to $60 per month.” All
       MetroPCS plans are prepaid.

           MetroPCS claimed that the CPUC’s adoption of a
       “mandatory one-size-fits-all” intrastate allocation factor
       conflicted with federal law and was therefore preempted. As
       relevant here, the Complaint alleged that the CPUC’s
       requirement that prepaid providers use the intrastate
       allocation factor to determine intrastate revenues subject to
       surcharge conflicted with an FCC order recognizing the
       three methods described above for separating interstate
       revenues from intrastate revenues for purposes of imposing
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       federal contribution requirements. The Complaint further
       alleged that the CPUC resolutions resulted in “state
       Universal Service surcharges [being assessed] on the same
       revenues that [were] already subject to federal Universal
       Service” contributions and thus unfairly burdened prepaid
       providers by subjecting them to “double assessment” of their
       revenues. The Complaint claimed that the 2017 Resolution,
       the resolution affirming the 2017 Resolution, and the 2018
       Resolution were each “preempted both facially and as
       applied to MetroPCS.” MetroPCS sought a declaration that
       the resolutions were preempted and an injunction barring the
       CPUC from enforcing them.

           As to the Prepaid Act that the resolutions were issued to
       implement, MetroPCS contended that the Act itself could be
       construed to avoid a conflict with federal law. To the extent
       a saving construction was not possible, the Complaint sought
       a declaration that any provision of the Prepaid Act
       conflicting with federal law was preempted and an
       injunction barring enforcement of any such provision.

            MetroPCS and the CPUC filed cross-motions for
       summary judgment, and the district court granted summary
       judgment for MetroPCS. MetroPCS Cal., LLC v. Picker,
       348 F. Supp. 3d 948, 950 (N.D. Cal. 2018). The district court
       first observed that orders issued by the FCC “stand for the
       proposition that wireless carriers have several options when
       allocating their interstate and intrastate revenues” to
       determine federal universal service contributions. Id. at
       962–63. Explaining that the CPUC resolutions required that
       “the intrastate allocation factor [be] the sole method” for
       determining intrastate revenue subject to surcharge, the court
       reasoned that the resolutions “deprived [prepaid] carriers of
       the ability to rely on [the] alternative allocation
       methodologies” recognized by the FCC. Id. at 963. The
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       court held that the CPUC resolutions were facially
       preempted because the “mandatory intrastate allocation
       factor” conflicted with federal law by preventing providers
       from choosing among the FCC-recognized methods. Id.
       The court explained that this conclusion made it
       “unnecessary to address MetroPCS’s other [preemption]
       challenges to the Contested Resolutions.” Id. With respect
       to the Prepaid Act, the court held that “the language and
       structure of the Act require[d] the usage of an intrastate
       allocation factor” and that the Act was therefore also
       preempted. Id. at 965. The court granted declaratory and
       injunctive relief with respect to both the resolutions and the
       Act.

           Before the district court issued its ruling, the CPUC had
       adopted another resolution (the “2019 Resolution”)
       patterned on the 2017 and 2018 Resolutions. Following the
       district court’s decision, the CPUC rescinded the 2019
       Resolution. Instead, the CPUC reverted to using “the
       surcharge . . . collection and remittance framework that
       existed prior to” the Prepaid Act.

           MetroPCS did not comply with the 2017 and 2018
       Resolutions’ requirement that it use the intrastate allocation
       factor to determine the intrastate portion of the sales price
       subject to CPUC surcharge. Instead, MetroPCS remitted
       surcharges using the FCC-recognized traffic study
       method—an option permitted under the 2016 Resolution.
       There is no indication in the record that the CPUC has ever
       attempted to enforce its resolutions against MetroPCS, other
       than through its defense in this litigation.

           The CPUC appealed the district court’s ruling that the
       required intrastate allocation factor method for determining
       intrastate revenue is facially preempted. The Prepaid Act
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       subsequently expired by its own terms on January 1, 2020.
       See Cal. Rev. & Tax. Code § 42024.

                                      II.

           The Prepaid Act’s expiration prompts us to consider, as
       a preliminary matter, whether this case has become moot.
       “Mootness is a jurisdictional issue, and ‘federal courts have
       no jurisdiction to hear a case that is moot, that is, where no
       actual or live controversy exists.’” Foster v. Carson,
       347 F.3d 742, 745 (9th Cir. 2003) (quoting Cook Inlet Treaty
       Tribes v. Shalala, 166 F.3d 986, 989 (9th Cir. 1999)). When
       “there is no longer a possibility that [a party] can obtain relief
       for [its] claim, that claim is moot.” Id. (quoting Ruvalcaba
       v. City of Los Angeles, 167 F.3d 514, 521 (9th Cir. 1999)).

           MetroPCS seeks only forward-looking declaratory and
       injunctive relief on its claim that federal law preempts the
       CPUC’s requirement that prepaid providers use a uniform
       intrastate allocation factor, and not their chosen FCC-
       recognized method, to determine intrastate revenues subject
       to surcharge. But the Prepaid Act, which the CPUC
       interpreted as requiring use of an intrastate allocation factor,
       and which motivated the challenged resolutions, has expired.
       See Cal. Rev. & Tax. Code § 42024. Because the Prepaid
       Act’s expiration may have already “accomplished all that a
       judgment could accomplish,” and may thereby have
       deprived us of the ability to give any meaningful prospective
       relief to MetroPCS, we requested supplemental briefing
       from the parties on whether this case had become moot. See
       Smith v. Univ. of Wash. Law Sch., 233 F.3d 1188, 1193
       (9th Cir. 2000), overruled on other grounds by Bd. of Trs. of
       the Glazing Health & Welfare Tr. v. Chambers, 941 F.3d
       1195 (9th Cir. 2019) (en banc).
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           Generally, the “expiration of challenged legislation . . .
       render[s] a case moot.” Glazing Health, 941 F.3d at 1198.
       But a case challenging expired legislation remains
       justiciable when the litigant still “need[s] . . . the judicial
       protection that it sought.” See Jacobus v. Alaska, 338 F.3d
       1095, 1102–03 (9th Cir. 2003) (quoting Adarand
       Constructors, Inc. v. Slater, 528 U.S. 216, 224 (2000) (per
       curiam)), overruled on other grounds by Glazing Health,
       941 F.3d 1195. In Jacobus, we held that we had jurisdiction
       because the plaintiffs who had challenged a since-repealed
       law would “likely experience prosecution and civil penalties
       for their past violations” of the law. Id. at 1104. We
       explained that their claims were not moot “[i]n light of the
       ongoing civil and criminal ramifications of [their] past
       violations.” Id. To avoid mootness, liability need not be
       certain; it is enough that the “possibility” of liability “for a
       proven past violation is real and not remote.” Decker v. Nw.
       Envtl. Def. Ctr., 568 U.S. 597, 610 (2013).

             Applying these principles here, we hold that this case is
       not moot. MetroPCS has not complied with the 2017 and
       2018 Resolutions. Even though there is no indication that
       the CPUC has yet attempted to enforce those resolutions
       against MetroPCS, the CPUC asserts in its briefing that the
       California Constitution requires it to enforce the resolutions
       implementing the Prepaid Act. See Cal. Const. art. III, § 3.5
       (providing that “[a]n administrative agency . . . has no power
       . . . to refuse to enforce a statute [based on federal law]
       unless an appellate court [makes] a determination that the
       enforcement of such statute is prohibited by federal law or
       federal regulations”). If we were to reverse the district court
       and uphold those resolutions, the CPUC represents that it
       would seek to hold MetroPCS liable for remitting surcharges
       based on the relevant intrastate allocation factor for at least
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       the years 2017 and 2018. 7 Both parties’ supplemental briefs
       take the position that the CPUC’s intent to pursue
       enforcement prevents this case from being moot.

            Even though the parties both contend that we have
       jurisdiction, we have an obligation to make that
       determination for ourselves. See Sherman v. U.S. Parole
       Comm’n, 502 F.3d 869, 871–72 (9th Cir. 2007). We
       conclude we do have jurisdiction. The CPUC has announced
       its intent to enforce the resolutions, and we are not aware of
       any basis for concluding that the CPUC can no longer bring
       an enforcement action. For example, the Prepaid Act itself
       contains no statute of limitations. See Cal. Rev. & Tax. Code
       § 42001 et seq. If the California catchall statute of
       limitations were to apply, it appears it would not have lapsed
       before an enforcement action could be brought. See Cal.
       Civ. Proc. Code § 343 (four-year statute of limitations). And
       even assuming the CPUC is subject to principles of equitable
       estoppel, the CPUC could only be estopped from
       enforcement if MetroPCS showed “detrimental reliance on
       [the CPUC’s] misrepresentations.” See Lyng v. Payne,
       476 U.S. 926, 935 (1986). It does not appear that the CPUC
       has ever misrepresented to MetroPCS that it would refrain
       from enforcing the 2017 and 2018 Resolutions.



            7
               The parties dispute whether MetroPCS could be liable for
       underpaying surcharges in 2019—the year for which the CPUC initially
       issued a resolution requiring use of an intrastate allocation factor but later
       rescinded that resolution in response to the district court’s ruling.
       Regardless of MetroPCS’s liability for 2019, the CPUC’s representation
       that it will seek to hold MetroPCS liable for 2017 and 2018 prevents this
       case from being moot for the reasons we explain below. Because our
       jurisdiction does not depend on MetroPCS’s 2019 liability, we decline
       to address in the first instance the parties’ disagreements about that year.
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           The possibility that the CPUC will bring an enforcement
       action against MetroPCS if the resolutions are upheld means
       there is still a live controversy, so we proceed to the merits
       of MetroPCS’s preemption claim.

                                    III.

           Preemption is “a question of law reviewed de novo.”
       Toumajian v. Frailey, 135 F.3d 648, 652 (9th Cir. 1998).
       We first conclude that preemption is disfavored in the
       circumstances of this case, and we then turn to MetroPCS’s
       specific preemption arguments.

                                     A.

           The Supremacy Clause provides that the “Constitution,
       and the Laws of the United States which shall be made in
       Pursuance thereof . . . shall be the supreme Law of the
       Land.” U.S. Const. art. VI, cl. 2. “When a state law, ‘in [its]
       application to [a particular] case, come[s] into collision with
       an act of Congress,’ the state law ‘must yield to the law of
       Congress.’” Close v. Sotheby’s, Inc., 909 F.3d 1204, 1209
       (9th Cir. 2018) (alterations in original) (quoting Gibbons v.
       Ogden, 22 U.S. (9 Wheat.) 1, 210 (1824)), cert. denied,
       139 S. Ct. 1469 (2019) (mem.). State law can be preempted
       by constitutional text, by federal statute, or by a federal
       regulation. P.R. Dep’t of Consumer Affs. v. Isla Petroleum
       Corp., 485 U.S. 495, 503 (1988); Fid. Fed. Sav. & Loan
       Ass’n v. de la Cuesta, 458 U.S. 141, 153 (1982). Where, as
       here, we consider whether a federal agency has preempted
       state regulation, we do not focus on Congress’s “intent to
       supersede state law” but instead ask “whether [the federal
       agency] meant to pre-empt [the state law].” Barrientos v.
       1801–1825 Morton LLC, 583 F.3d 1197, 1208 (9th Cir.
       2009) (alterations in original) (quoting de la Cuesta,
       458 U.S. at 154).
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           Conflict preemption occurs when “it is impossible to
       comply with both state and federal requirements,” or when
       “state law stands as an obstacle to the accomplishment and
       execution of the full purposes and objectives of Congress.”
       Williamson v. Gen. Dynamics Corp., 208 F.3d 1144, 1149
       (9th Cir. 2000) (quoting Indus. Truck Ass’n v. Henry,
       125 F.3d 1305, 1309 (9th Cir. 1997)). 8 MetroPCS does not
       contend that it is impossible to comply both with federal law
       and with the CPUC resolutions but instead argues that the
       resolutions are an obstacle to the FCC’s accomplishing its
       purposes. To evaluate whether a state law poses an obstacle
       to the implementation of a federal program, “the Supreme
       Court has stated that the ‘pertinent question []’ is whether
       the state law ‘sufficiently injure[s] the objectives of the
       federal program to require nonrecognition.’” See Topa
       Equities, Ltd. v. City of Los Angeles, 342 F.3d 1065, 1071
       (9th Cir. 2003) (alterations in original) (quoting Hisquierdo
       v. Hisquierdo, 439 U.S. 572, 583 (1979)). The mere “fact
       that there is ‘[t]ension between federal and state law is not
       enough to establish conflict preemption.’” Shroyer v. New
       Cingular Wireless Servs., Inc., 498 F.3d 976, 988 (9th Cir.
       2007) (alteration in original) (quoting Incalza v. Fendi N.
       Am., Inc., 479 F.3d 1005, 1010 (9th Cir. 2007)).

          “[T]he case for federal pre-emption” is “less persuasive”
       when “coordinate state and federal efforts exist within a
       complementary administrative framework[] and in the
       pursuit of common purposes.” N.Y. State Dep’t of Soc.

           8
             The other two categories of preemption—express preemption
       (“where Congress explicitly defines the extent to which its enactments
       preempt state law”), and field preemption (“where state law attempts to
       regulate conduct in a field that Congress intended the federal law
       exclusively to occupy”)—are not at issue in this case. See Williamson,
       208 F.3d at 1149 (quoting Indus. Truck Ass’n, 125 F.3d at 1309).
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       Servs. v. Dublino, 413 U.S. 405, 421 (1973); see also In re
       Volkswagen “Clean Diesel” Mktg., Sales Practices, &
       Prods. Liab. Litig., 959 F.3d 1201, 1225 (9th Cir. 2020)
       (citing the existence of a “cooperative federalism scheme,”
       among other factors, as “rais[ing] the strong inference that
       Congress did not intend to” preempt state and local
       enforcement). Moreover, when Congress has legislated in a
       field in which there is a “historic presence of state law,” a
       presumption against preemption applies. See Wyeth v.
       Levine, 555 U.S. 555, 565 & n.3 (2009). What matters for
       application of this presumption is whether “Congress has set
       foot in a ‘field which the States have traditionally
       occupied,’” McDaniel v. Wells Fargo Invs., LLC, 717 F.3d
       668, 675 (9th Cir. 2013) (quoting Wyeth, 555 U.S. at 565);
       if it has, there is a presumption against preemption regardless
       of whether “Congress has regulated [in that field]
       comprehensively for fifty years or only interstitially for
       five,” see id.

             Here, there is a “dual regulatory scheme” requiring that
       our “conflict-pre-emption analysis . . . be applied sensitively
       . . . so as to prevent the diminution of the role Congress
       reserved to the States.” See Nw. Cent. Pipeline Corp. v. State
       Corp. Comm’n, 489 U.S. 493, 514–15 (1989). The
       Telecommunications Act is premised on a “system of
       ‘cooperative federalism,’” in which participating states are
       key partners to the federal government in regulating the
       telecommunications industry. See T-Mobile S., LLC v. City
       of Roswell, 574 U.S. 293, 303 (2015) (quoting City of
       Rancho Palos Verdes v. Abrams, 544 U.S. 113, 128 (2005)
       (Breyer, J., concurring)). Under this scheme, states are,
       “subject to the boundaries set by Congress and federal
       regulators, . . . called upon to apply their expertise and
       judgment and have the freedom to do so.” BellSouth
       Telecomms., Inc. v. Sanford, 494 F.3d 439, 449 (4th Cir.
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       2007). Because the CPUC resolutions regulate an aspect of
       this scheme in which the Telecommunications Act
       recognizes state authority—imposing surcharges on
       intrastate revenue to support state universal service
       programs—there is a higher threshold for showing that those
       resolutions are preempted. See id. at 448–49 (citing
       universal service as an example of the Telecommunication
       Act’s cooperative federalism scheme).

           Further, the history of state regulation in this area
       requires us to apply the presumption against preemption.
       See McDaniel, 717 F.3d at 675. States traditionally
       “exercised broad power to regulate telecommunications
       markets within their borders in ways that were designed to
       promote . . . universal service.” In re Public Utility
       Commission of Texas, 13 FCC Rcd. 3460, 3463 (1997); see
       also, e.g., In re Federal-State Joint Board on Universal
       Service, 14 FCC Rcd. 8078, 8100–01 (1999) (referring to
       states’ historical efforts to “ensure[] universal service
       principally through implicit support mechanisms, such as
       geographic rate averaging”); 1998 Universal Service
       Decision, 13 FCC Rcd. at 24747 (acknowledging that,
       “[h]istorically, . . . state . . . regulators have exercised their
       jurisdictional authority to ensure the availability of universal
       service”).

           MetroPCS contends that our decisions in Qwest Corp. v.
       Arizona Corp. Commission, 567 F.3d 1109 (9th Cir. 2009),
       and Ting v. AT&T, 319 F.3d 1126 (9th Cir. 2003),
       nevertheless prevent the presumption against preemption
       from applying here. But Qwest Corp., relying on Ting,
       stated that “the long history of federal presence in regulating
       long-distance telecommunications” made the presumption
       inapplicable. See Qwest Corp., 567 F.3d at 1118 (emphasis
       added) (quoting Ting, 319 F.3d at 1136). As those cases
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       explained, the historic telecommunications regulatory
       scheme granted authority to the FCC—not states—to
       regulate interstate long-distance telecommunications. See
       id. at 1112, 1117–18 (observing that “telephone service
       regulatory issues [used to] mainly revolve[] around rates,
       with the FCC setting interstate rates,” and that long-distance
       telecommunications are “typically interstate” (quotation
       marks omitted)); see also Ting, 319 F.3d at 1130–32
       (describing the FCC’s historical regulation of rates for
       interstate long-distance service). Qwest Corp. and Ting are
       therefore distinguishable from this case because they
       involved state laws covering a part of the regulatory scheme
       that was traditionally dominated by the FCC. By contrast,
       the CPUC resolutions here were focused on regulating
       intrastate telecommunications to further state universal
       service efforts. Because this is an area that has clearly been
       “traditionally occupied” by the states, see Wyeth, 555 U.S.
       at 565 (quoting Medtronic, Inc. v. Lohr, 518 U.S. 470, 485
       (1996)), the presumption against preemption applies.

                                     B.

           MetroPCS focuses on two theories in support of its claim
       that the CPUC resolutions are facially preempted by the
       Telecommunications Act and related FCC decisions: (1) that
       the resolutions conflict with the requirement of competitive
       neutrality by depriving prepaid providers (but not postpaid
       providers) of the “right” to calculate intrastate revenues in a
       way that avoids assessing the same revenues as federal
       contribution requirements, and (2) that because prepaid
       providers are deprived of that “right,” the resolutions are
       preempted regardless of the treatment of competing
       providers. Evaluating these theories in light of the foregoing
       reasons to disfavor preemption, we reject each of them.
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                                    1.

           MetroPCS argues that the CPUC resolutions facially
       conflict with the FCC’s competitive neutrality policy, see
       1997 Universal Service Order, 12 FCC Rcd. at 8801, which
       is related to the Telecommunications Act’s “equitable and
       nondiscriminatory” mandate, see 47 U.S.C. § 254(d), (f).
       Specifically, MetroPCS points out that the CPUC’s
       requirement that an intrastate allocation factor be used to
       determine intrastate revenue applied “only to prepaid”
       services and not to “similarly situated postpaid” services.
       MetroPCS asserts that this differential treatment made it
       harder for prepaid providers to compete with postpaid
       providers.

                                    a.

          As relevant to MetroPCS’s               argument,    the
       Telecommunications Act provides:

              A State may adopt regulations not
              inconsistent with the [FCC’s] rules to
              preserve and advance universal service.
              Every telecommunications carrier that
              provides intrastate telecommunications
              services shall contribute, on an equitable and
              nondiscriminatory basis, in a manner
              determined by the State to the preservation
              and advancement of universal service in that
              State.

       47 U.S.C. § 254(f). The FCC has determined that the
       requirement that contributions be imposed “on an equitable
       and nondiscriminatory basis” encompasses “[t]he principle
       of competitive neutrality.” 1997 Universal Service Order,
       12 FCC Rcd. at 8801 (explaining that the competitive
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       neutrality principle is “embodied in . . . section 254(f)’s
       requirement that state universal service contributions be
       equitable and nondiscriminatory”).

           The FCC has defined competitive neutrality to “mean[]
       that universal service support mechanisms and rules neither
       unfairly advantage nor disadvantage one provider over
       another, and neither unfairly favor nor disfavor one
       technology over another.” Id.; see also AT&T Corp. v. Pub.
       Util. Comm’n, 373 F.3d 641, 647 (5th Cir. 2004) (explaining
       that competitive neutrality at least prohibits putting some
       providers “at a distinct competitive disadvantage compared
       with” other providers). Competitive neutrality prohibits
       regulators “from treating competitors differently in unfair
       ways,” see AT&T, Inc. v. FCC, 886 F.3d 1236, 1250
       (D.C. Cir. 2018) (formatting altered) (quoting Rural
       Cellular Ass’n v. FCC, 588 F.3d 1095, 1104 (D.C. Cir.
       2009)), but does not prohibit regulators “from according
       different treatment to competitors whose circumstances are
       materially distinct,” id.

           One of our sister circuits has addressed the requirement
       that states impose universal service contributions on a
       competitively neutral basis. In AT&T Corp., the Fifth
       Circuit considered Texas’s universal service fee, which the
       state imposed “on all telecommunications carriers who
       provide[d] any intrastate service.” 373 F.3d at 644. A 3.6%
       state fee applied to such carriers’ intrastate revenue as well
       as to any revenue they “derived from . . . interstate[] and
       international calls originating in Texas.” Id. The result was
       that “multijurisdictional carriers” providing both intrastate
       and interstate service in Texas had two different fees
       imposed on their interstate revenues: they paid the 3.6% state
       fee on such revenues plus the 7.28% federal universal
       service fee on the same revenues. See id. at 644, 646–47.
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       By contrast, “pure-interstate-provider[s]” were not subject to
       the Texas fee and paid only the 7.28% federal fee on their
       interstate revenues. Id. at 647. The Fifth Circuit determined
       that this “double assessment” of multijurisdictional carriers’
       interstate revenues put them “at a distinct competitive
       disadvantage compared with the pure interstate carriers,”
       who did not have their interstate revenues doubly assessed.
       Id. It therefore held that the Texas fee was preempted by
       federal law. Id.

           The FCC adopted a similar position in a ruling
       addressing whether states could require universal service
       contributions from certain interconnected VoIP providers.
       See In re Universal Service Contribution Methodology,
       25 FCC Rcd. 15651, 15656 (2010) (“2010 VoIP
       Contribution Ruling”). Prior to that ruling, the FCC had
       concluded (just as it had with wireless providers) that these
       providers could use any of the three methods of actual
       revenue, a traffic study, or the VoIP safe harbor (of 64.9%)
       to determine interstate revenues subject to federal universal
       service contribution requirements. See 2006 Universal
       Service Order, 21 FCC Rcd. at 7544–45. In response to two
       states’ request for a declaratory ruling on the permissibility
       of imposing state universal service contribution
       requirements on interconnected VoIP providers, the FCC
       ruled that a state could impose such contribution
       requirements on the intrastate revenues of those providers—
       but specified that the state’s methodology must not result in
       “double assessments” of providers’ revenues. See 2010
       VoIP Contribution Ruling, 25 FCC Rcd. at 15655, 15659–
       60.

           The FCC explained that such double assessments might
       occur if states had different ways of determining which
       revenues fell within their respective jurisdictions and as a
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       result imposed their universal service contribution
       requirements on the same revenue. See id. at 15659. The
       FCC described a hypothetical example in which “all of an
       interconnected VoIP provider’s customers have a billing
       address in State A and service address in State B,” and “State
       A and State B use billing addresses and service addresses,
       respectively, to determine the state universal service revenue
       base.” Id. If the provider used the FCC safe harbor and its
       inverse to determine its interstate and intrastate revenue,
       64.9% of its revenue would be assessed for federal
       contributions, 35.1% of its revenue would be assessed by
       State A, and 35.1% of its revenue would be assessed by
       State B—resulting in double assessments on 35.1% of its
       revenue. See id.

           The FCC concluded that the double assessments it
       described “would violate the principle of competitive
       neutrality.” Id. at 15659–60. Interconnected VoIP providers
       compete with “traditional telephone service” providers. See
       2006 Universal Service Order, 21 FCC Rcd. at 7541.
       Because “traditional telephony” providers “are generally not
       subject to double assessments,” any double assessments on
       interconnected VoIP providers’ revenues would place those
       providers “at an artificial competitive disadvantage.” 2010
       VoIP Contribution Ruling, 25 FCC Rcd. at 15659–60. The
       FCC thus determined that any state contribution
       requirements resulting in assessments by two states on the
       same interconnected VoIP revenue would conflict with the
       “important federal policy of competitive neutrality” and be
       preempted on that ground. See id.

                                    b.

          We agree with the reasoning of our sister circuit and the
       FCC. Cf. Dilts v. Penske Logistics, LLC, 769 F.3d 637, 649–
       50 (9th Cir. 2014) (“find[ing] . . . persuasive” an agency’s
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       position that a federal statute does not preempt state laws).
       Again, competitive neutrality attempts to create an even
       playing field between competitors by prohibiting rules that
       “unfairly advantage [or] disadvantage one provider over
       another.” See 1997 Universal Service Order, 12 FCC Rcd.
       at 8801. To the extent a state regulation violates that
       competitive neutrality requirement, the regulation is
       preempted—and one way in which a regulation can
       impermissibly create an “unfair[] . . . disadvantage,” see id.,
       is by causing the double assessment of one provider’s
       revenue but not a competing provider’s revenue. See AT&T
       Corp., 373 F.3d at 647; 2010 VoIP Contribution Ruling,
       25 FCC Rcd. at 15659–60.

           In evaluating whether the CPUC resolutions at issue here
       are facially preempted, we use “the rules that apply to facial
       challenges” to statutes. See Puente Ariz. v. Arpaio, 821 F.3d
       1098, 1104 (9th Cir. 2016). To succeed on its facial
       preemption claim under those rules, MetroPCS “must show
       that ‘no set of circumstances exist[ed] under which the
       [resolutions] [were] valid.’” See id. (quoting United States
       v. Salerno, 481 U.S. 739, 745 (1987)); see also Salerno,
       481 U.S. at 745 (explaining that a facial challenge is “the
       most difficult challenge to mount successfully”).
       Specifically, MetroPCS must demonstrate that every
       application of the CPUC resolutions caused an unfair
       disadvantage for prepaid services, which MetroPCS could
       accomplish by showing that the resolutions always resulted
       in uneven double assessments.

           Under the CPUC resolutions, providers of prepaid
       services were still able to use any of the FCC-recognized
       methods to determine the portion of interstate revenue
       subject to federal contribution requirements (and a
       corresponding portion of intrastate revenue not subject to
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       federal contribution requirements). But those providers
       could not rely on the FCC methods to determine the portion
       of intrastate revenue subject to state surcharge. Instead, the
       resolutions required use of an intrastate allocation factor to
       capture the portion of revenues that were intrastate. As the
       CPUC has explained, that intrastate allocation factor served
       the function of “determining” providers’ “intrastate revenue
       subject to the state’s universal service surcharges.” 9

           For example, take a provider that operated exclusively in
       California and sold a $100 voice-only prepaid plan, all of the
       revenue from which was surchargeable. To determine its
       interstate revenue for federal universal service purposes,
       suppose that the provider used the federal safe harbor of
       37.1% interstate revenue, which would have resulted in the
       FCC’s assessing $37.10 of the plan—but not the $62.90
       treated as intrastate revenue under the safe harbor. By
       contrast, under the CPUC’s 2017 Resolution, the provider
       would have been required to use the intrastate allocation
       factor of 72.75% to determine that $72.75 of the plan was
       intrastate revenue for state universal service purposes. The
       unadjusted CPUC surcharge rate would have been applied to
       that $72.75. The end result would have been the FCC’s
       assessing $37.10 and the CPUC’s assessing $72.75 (a total
       of $109.85). Thus, as a consequence of the provider’s using
       the FCC safe harbor to derive interstate revenue subject to
       federal contributions, but using the CPUC-mandated
       intrastate allocation factor to derive intrastate revenue

            9
              As explained above, even though the CPUC resolutions nominally
       required applying the relevant adjusted surcharge rate to the entire
       purchase price, that was mathematically equivalent to requiring use of
       the intrastate allocation factor to determine the intrastate portion of the
       purchase price to which the unadjusted surcharge rate applied. See supra
       Part I.C.
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       subject to state surcharge, there would have been a double
       assessment on $9.85 of the $100 plan.

           By contrast, consider a competing provider that sold a
       similar $100 voice-only postpaid plan in California. The
       provider of postpaid services, unlike the provider of prepaid
       services, would have been permitted to use any of the three
       FCC methods to determine both its interstate and intrastate
       revenues. Suppose the provider used the federal safe harbor
       and its inverse. Using the federal safe harbor of 37.1% for
       federal universal service contributions, the provider would
       have had $37.10 in interstate revenue subject to such
       contributions. And using the inverse of that safe harbor,
       62.9%, the provider would have had $62.90 in intrastate
       revenue subject to CPUC surcharge—for a total assessment
       on $100, and no double assessment at all.

           The double assessment on prepaid services would, at
       least if the surcharge rates applicable to prepaid services
       were similar to the rates applicable to postpaid services,
       create a disadvantage for the provider of prepaid services
       compared to the provider of postpaid services. See AT&T
       Corp., 373 F.3d at 647 (explaining that there was a
       “competitive disadvantage” because one subset of carriers
       was “burden[ed] . . . more severely” than other carriers). On
       their $100 plans, both providers would have paid the same
       federal contribution amount. But the CPUC surcharge
       amount would have been higher for the provider of prepaid
       services if, as was true here, the surcharge rates for prepaid
       services essentially the same rates applicable to postpaid
       services. If the state surcharge rate for both were 10%, for
       example, the provider of prepaid services would have had an
       additional $9.85 in revenue subject to that rate—and
       therefore paid an additional surcharge amount of $0.985.
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           That disadvantage for the provider of prepaid services
       would have been an “unfair[]” one. See 1997 Universal
       Service Order, 12 FCC Rcd. at 8801. We see no meaningful
       distinction between prepaid and postpaid services that could
       justify imposing the higher surcharge only on prepaid
       services. Cf. AT&T, Inc., 886 F.3d at 1250 (explaining that
       competitive neutrality does not prohibit a regulator “from
       according different treatment to competitors whose
       circumstances are materially distinct”).        Prepaid and
       postpaid services offer the same telecommunications options
       of voice, text messaging, and data. See, e.g., In re
       Implementation of Section 6002(b) of the Omnibus Budget
       Reconciliation Act of 1993, 26 FCC Rcd. 9664, 9725 (2011).
       And counsel for the CPUC acknowledged at oral argument
       that prepaid and postpaid providers are equally capable, if
       permitted to do so, of using the three FCC-recognized
       methods to determine their intrastate revenues. See Oral
       Argument at 9:39–10:40. 10         Thus, under the CPUC
       resolutions, a provider of prepaid services that was subject
       to the same surcharge rate as a provider of postpaid services,


           10
               The CPUC contends that its resolutions do not conflict with the
       principle of competitive neutrality because they treated direct sellers
       (providers such as MetroPCS) the same as indirect sellers (such as big
       box stores). See Oral Argument at 7:45–9:28. Both direct sellers and
       indirect sellers were required to use the intrastate allocation factor. Thus,
       as the CPUC explains in its briefing, “[a] California consumer who
       [bought] $100 worth of prepaid service would [have paid] the exact same
       surcharge whether she [bought] that service . . . directly from the carrier
       or from an indirect seller.” But the fact that direct sellers and indirect
       sellers were treated equally by the CPUC does not change the fact that
       providers of prepaid services were potentially treated inequitably
       compared to providers of postpaid services. Cf. In re Silver Star
       Telephone Company, Inc., 13 FCC Rcd. 16356, 16360–61 (1998)
       (explaining that competitive neutrality requires such neutrality “among
       the entire universe of participants . . . in a market”).
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       but on a higher portion of its surchargeable revenues, would
       have found itself at an unfair competitive disadvantage.

           Importantly, however, the CPUC’s adoption of an
       intrastate allocation factor would not necessarily have
       resulted in an unfair disadvantage for every prepaid
       provider. Take, for instance, a provider that sold a $100
       voice-only prepaid plan in California and relied on a traffic
       study showing 25% interstate traffic and 75% intrastate
       traffic for its federal universal service contributions. The
       FCC would have applied its contribution factor to $25, while
       the CPUC, using its 2017 intrastate allocation factor of
       72.75%, would have applied its surcharge rate to another
       $72.75. No disadvantageous double assessment would have
       occurred. 11

            Thus, the adoption of an intrastate allocation factor in
       and of itself would not have invariably resulted in double
       assessments conflicting with the principle of competitive
       neutrality. Nor has MetroPCS even attempted to argue that
       it is possible to discern from the specific intrastate allocation
       factors adopted by the CPUC (72.75% for 2017 and 69.45%
       for 2018) that double assessments unfairly disadvantaging
       every provider of prepaid services would have occurred. See
       generally Faria v. M/V Louise, 945 F.2d 1142, 1143
       (9th Cir. 1991) (explaining that “one of the most basic
       propositions of law” is “that the plaintiff bears the burden of
       proving [its] case”).        MetroPCS’s facial preemption

            11
              To the extent the CPUC resolutions resulted in providers of
       prepaid services having less than 100% of their revenues assessed, other
       competing providers could potentially claim their own competitive
       disadvantage if they had all 100% of revenues assessed. But this case
       does not involve any such claim, so we have no occasion to address any
       implications of prepaid providers’ potentially being competitively
       advantaged.
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       challenge based on a conflict with competitive neutrality
       therefore fails. See Puente Ariz., 821 F.3d at 1104.

                                     2.

           MetroPCS additionally contends that providers of
       prepaid services have a freestanding “right to use the same
       FCC-authorized methodologies . . . for purposes of
       calculating their intrastate telecommunications service
       revenues subject to CPUC surcharges” to avoid having the
       same revenue subject to both federal and state contribution
       requirements. MetroPCS argues that the CPUC resolutions
       deprived providers of this “right” and are therefore facially
       preempted regardless of how other providers were treated.

            In making this argument, MetroPCS relies on a different
       part of the FCC’s declaratory ruling permitting states to
       impose universal service contribution requirements on
       intrastate interconnected VoIP revenue. See 2010 VoIP
       Contribution Ruling, 25 FCC Rcd. at 15658. The FCC
       observed in that ruling that interconnected VoIP providers
       have “three options by which they can establish their federal
       universal service revenue base.” Id. The FCC stated that,
       “to avoid a conflict” with its rules, “a state imposing
       universal service contribution obligations on interconnected
       VoIP providers must allow those providers to treat as
       intrastate for state universal service purposes the same
       revenues that they treat as intrastate under the [FCC’s]
       universal service contribution rules.” Id. By allowing for
       consistent treatment of revenues, a state would “ensure that
       [its] contribution requirements [were] not . . . imposed on the
       same revenue on which an interconnected VoIP provider
       [was] basing its calculation of federal contributions.” Id.

          Suppose, for example, that an interconnected VoIP
       provider operating exclusively in one state used the federal
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       safe harbor of 64.9% to determine interstate revenue subject
       to federal contribution requirements. If the provider were
       also required by that state to treat 50% of revenue as
       intrastate, the provider would be subject to assessments on
       114.9% of its revenue (that is, double assessments on 14.9%
       of its revenue). The FCC suggested that a state regulation
       resulting in such double assessment “may be subject to
       preemption.” Id.

           For two reasons, we conclude that this part of the FCC’s
       ruling does not provide a basis for resolving this appeal in
       MetroPCS’s favor. First, the FCC’s position is unclear. It
       does not seem that the FCC has even reached a definitive
       conclusion about preemption; instead, the FCC used the
       tentative language “may.” See id. Nor does the FCC’s
       sparsely reasoned ruling provide a clue as to how we could
       discern whether any double assessment sufficiently injured
       a federal objective so as to trigger preemption. See Topa
       Equities, Ltd., 342 F.3d at 1071; see also Wyeth, 555 U.S.
       at 576–77 (explaining that we can consider “an agency’s
       explanation of how state law affects the regulatory scheme”
       in deciding whether a state law conflicts with a federal
       regulation, although we do “not defer[] to an agency’s
       conclusion that state law is pre-empted” and must undertake
       our “own conflict determination”).

           Second, in the circumstances present in this case, the
       question whether federal law enshrines a freestanding right
       to avoid double assessment of revenue is ultimately beside
       the point. To prevail on a facial challenge premised on the
       existence of such a right, MetroPCS would need to show that
       every application of the CPUC resolutions would have
       resulted in double assessment of prepaid revenue—but, as
       explained above, MetroPCS has failed to make such a
       showing. See supra Part III.B.1.b. Also, at least as far as we
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       can tell, any double assessment on prepaid revenue would
       necessarily have created an “unfair[] . . . disadvantage” for
       the prepaid provider compared to competing postpaid
       providers. See 1997 Universal Service Order, 12 FCC Rcd.
       at 8801. As explained above, only the prepaid provider, and
       not postpaid providers, would have been subject to double
       assessment, and yet the surcharge rates were similar for
       prepaid and postpaid services. See supra Part III.B.1.b. The
       result would have been higher surcharges for prepaid
       services but not postpaid services, despite there being no
       meaningful difference between the two. See supra Part
       III.B.1.b. Any double assessment on prepaid revenue would
       therefore conflict with the competitive neutrality
       requirement that the FCC has prescribed. And because the
       double assessment would be invalid for that reason, it would
       make no difference whether it was invalid for the additional
       reason of violating a freestanding right against double
       assessments.

           As a final matter, we reject one further argument by
       MetroPCS that an even more expansive right is guaranteed
       by federal law: the right to use the FCC-recognized methods
       to determine intrastate revenue, regardless of whether any
       inconsistency between those methods and state-permitted
       methods results in double assessments. Specifically,
       MetroPCS argues that the FCC “deliberately sought” to
       make available three options for determining revenue, and
       that the CPUC resolutions are preempted solely because they
       deprived prepaid providers of that flexibility. See Geier v.
       Am. Honda Motor Co., 529 U.S. 861, 878, 881 (2000); de la
       Cuesta, 458 U.S. at 155–56. But the CPUC resolutions did
       not prevent prepaid providers from using the FCC-
       recognized options to determine interstate revenue subject
       to federal contributions; they only prevented prepaid
       providers from using those options to determine intrastate
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       revenue subject to state surcharge. Cf. In re Volkswagen,
       959 F.3d at 1221 (holding that the EPA’s enforcement of
       federal law would not be impeded by local “parallel rules,
       and so there is no basis to infer a congressional intent to
       preempt them”). And MetroPCS has pointed to little
       evidence that flexibility—in federal contribution
       calculations, let alone in state ones—was an overriding
       purpose of the relevant FCC orders. Cf. Barrientos, 583 F.3d
       at 1210 (rejecting preemption claim when the asserted
       federal goal was “an important means to the ultimate end of
       providing housing, but not [actually] a goal in itself”).

                                   IV.

           MetroPCS advances several other challenges to the
       CPUC resolutions. These challenges were not reached by
       the district court, and we therefore decline to address them
       in the first instance. See Davis v. Nordstrom, Inc., 755 F.3d
       1089, 1094 (9th Cir. 2014) (“Typically, ‘a federal appellate
       court does not consider an issue not passed upon below.’”
       (quoting Quinn v. Robinson, 783 F.2d 776, 814 (9th Cir.
       1986))).

           First, MetroPCS argues that the CPUC resolutions are
       preempted as applied to MetroPCS. Our analysis above
       makes clear that the resolutions would be preempted if
       applying them to MetroPCS resulted in double assessments
       on MetroPCS’s revenue, which would unfairly disadvantage
       MetroPCS relative to its competitors—and thereby conflict
       with the competitive neutrality requirement. Resolving that
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       as-applied claim requires a largely factual inquiry that is best
       left to the district court. 12

           Second, MetroPCS advances two alternative grounds for
       wholly invalidating the CPUC resolutions. MetroPCS
       argues that the intrastate allocation factor conflicts with the
       federal Mobile Telecommunications Sourcing Act. And
       MetroPCS contends that the 2017 and 2018 intrastate
       allocation factors were “based on a fundamentally flawed
       methodology” and impermissibly “require[d] a substantial
       assessment” of non-surchargeable revenue. The district
       court did not reach these arguments, and we decline to do so
       in the first instance.

           REVERSED and REMANDED.




            12
               At this juncture, we see no reason for the district court to consider
       an as-applied challenge premised on a standalone federal right to be free
       from double assessments. As explained above, on the facts of this case,
       it seems that any double assessments on MetroPCS’s revenue would
       necessarily conflict with the competitive neutrality principle, so the
       CPUC resolutions would be preempted on that ground.
